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              IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF TENNESSEE
                        EASTERN DIVISION
__________________________________________________________________

UNITED STATES OF AMERICA,

      Plaintiff,

v.                                                Cr. No. 17-10105-STA

ROLANDO LOPEZ, et al.

     Defendants.
__________________________________________________________________

    ORDER ON MOTION TO OBTAIN NEW SENTENCING DATE AND
  DEADLINE FOR SUBMISSION OF SENTENGING PAPERS AND NOTICE
                          OF RESETTING
__________________________________________________________________

      Before the Court is an unopposed motion to obtain a new sentencing date

and deadline for the submission of sentencing papers (Doc. No. 290) as to

Defendant Rolando Lopez. The court finds the motion is well taken and should be

granted.

      IT IS HEREBY ORDERED that the sentencing hearing for Defendant

Rolando Lopez is re-set to Monday, June 24, 2019 at 9:00 a.m.

      ENTERED THIS 29th day of May, 2019.

                               s/S. Thomas Anderson
                               S. THOMAS ANDERSON
                               CHIEF UNITED STATES DISTRICT JUDGE
